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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

KENNETH KUKOWSKI,

       Plaintiff,

vs.                                                  Case No. 6:15-cv-1166-ORL-40TBS

C & F FINANCE COMPANY,

      Defendant.
____________________________/

               JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

       Plaintiff, KENNETH KUKOWSKI, and Defendant, C & F FINANCE COMPANY, by and

through undersigned counsel, and pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure, hereby jointly stipulate to the dismissal of this action with prejudice, with each party

to bear its own attorneys’ fees and costs.



/s/ Tav Gomez, Esq.                                     /s/ William J. Denius, Esq.
Tav Gomez, Esquire                                      William J. Denius, Esquire
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true copy hereof has been furnished via CM/ECF to Octavio

Gomez, Esquire at TGomez@ForThePeople.com , Morgan & Morgan, P.A., 201 N. Franklin

Street, 7th Floor, Tampa, Florida 33601; on this 6th day of January 2016.

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                                               ORNSTEIN & SQUIRES, P.A.
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                                             _/s/ William J. Denius________
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